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UNITED STATES DISTRICT CO E05 S001,
FOR THE NORTHERN DISTRICT OF CALIFORNIA Swe C .
San Jose Venue ° rou,

 

Petition for Summons for Person Under Supervision

 

Person Under Supervision Docket Number
Jose Ruiz-Montes 0971 5:20CR00184-001 EJD

Name of Sentencing Judge: The Honorable Cynthia Ann Bashant
United States District Judge
Southern District of California

Date of Original Sentence: February 24, 2020

Original Offense
Count One: False Statement to Government Agency, 18 U.S.C. § 1001, a Class D Felony.

Original Sentence: Imprisonment term of time served followed by one year supervised
release

Special Conditions: $100 special assessment; if deported, not reenter the United States
illegally; mental health treatment; report all vehicles owned or operated to the probation
officer; search; 150 hours of community service.

Prior Form(s) 12: On April 14, 2020, The Honorable Cynthia Ann Bashant modified the
client’s supervised release terms to include a substance abuse treatment condition.

On April 30, 2020, jurisdiction was transferred from the Southern District of California to the
Northern District of California and assigned to The Honorable Edward J. Davila.

 

Type of Supervision Date Supervision Commenced
Supervised Release February 24, 2020
Assistant U.S. Attorney Defense Counsel
To Be Assigned To Be Assigned
Petitioning the Court

The issuance of a summons for the person under supervision to appear in court before the duty
Magistrate Judge for identification of counsel and setting of further proceedings on August 3,
2020, at 1:30pm.

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I, Elizabeth Hernandez-Robles, a Probation Officer employed in the United States District Court
for the Northern District of California, solemnly affirm and declare, under penalty of perjury, that
to the best of my information and belief, the facts set forth in this affidavit are true and correct.
The factual affirmations made below are based on my personal knowledge, on official records or
documents generated and maintained by my agency in the course of performing its functions, on
official records or documents generated and maintained by other government agents or agencies
in the course of performing their functions, or on information provided to me orally or
electronically by employees or agents of other public agencies (information developed or acquired
in the course of performing official agency functions).

Charge Number Violation

One There is probable cause to believe that the person under supervision
violated mandatory condition number three that states he must not illegally
possess a controlled substance. The client must refrain from any unlawful
use of a controlled substance.

On May 5, 2020, the United States Probation Officer received an email
from the client’s case manager. This email! described an incident at the
group home in which he lives. On May 4, 2020, the case manager
arrived at the home to speak to the client’s roommate. When he walked
in, he noticed a strong odor of marijuana. The client was hiding in the
closet but advised the case manager that he was changing. The case
manager asked the client if he had been smoking marijuana, to which he
stated he had not. The case manager proceeded to conduct a room
search. In the client’s laundry basket, a “makeshift bong” (made from a
Coca-Cola plastic bottle), marijuana and a vape pen battery were found.
The client denied that any of these items were his or that he had
consumed marijuana.

On May 5, 2020, the United States Probation Officer arrived at the
group home to discuss the previous day’s incident. Initially, the client
stated he had nothing to report, when confronted regarding the incident,
he denied being at the home at the time. After advising the client that
probation wishes to help him and as such, he should be truthful, Mr.
Ruiz-Montes admitted using marijuana. He stated he has trouble
sleeping and has been using marijuana regularly to help him sleep. At
this time, the.client agreed to sign an Admission Report.

Evidence of this charge can be found in the chronological record and in
the Admission Report both dated May 5, 2020.

The Probation Office is requesting a summons due to the above charge and the following events.
On March 31, 2020, Mr. Ruiz-Montes contacted the Probation Officer to advise he moved to
Rosana Street, Gilroy, as he could no longer live at the other address due to his criminal
background. On April 7, 2020 client advised he moved again to East 7" Street, Gilroy, because he
stated it was closer to his job. On April 10, 2020, his foster mother from the Rosana Street address
contacted me advising the client had stolen her identification and the keys to the home prior to

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leaving. She had evicted him as he was drinking at the home, and his boyfriend would stay over
without asking for permission. She had also discovered he had also been evicted from the East 7”
Street address, got fired from his job for not going into work while he lived with her, and had been
expelled from school for poor performance. Mr. Ruiz-Montes was contacted on the same day to
request information regarding the incidents at the Rosana Street address which he adamantly
denied. On April 15, 2020, he advised the Probation Officer he moved again to Swanston Lane,
Gilroy. On April 24, 2020, the Probation Officer attempted contact with the client at his reported
home. He advised he was at his friend’s house in San Jose. Once the officer arrived at his friend’s
home in San Jose, the client was not present. When called, he advised he was going to Walmart.
The Probation Officer arrived at Walmart and waited for the client for 20 minutes. Once he arrived
he stated he was late due to going to another friend’s house. The client was not wearing a mask to
enter the store and he was admonished for not following the rules of shelter-in-place or wearing a
mask when going into the store. Client was directed to go back home and follow shelter-in-place
orders. On April 25, 2020, client contacted the Probation Officer to advise he wanted to know
when the officer wished the client return home. He was admonished and advised he needed to go
back home as soon as possible. On April 28, 2020, an administrative meeting was conducted with
the Probation Officer and the Supervisory Probation Officer, the client was reminded of his
conditions of supervision, including being responsive and communicating his whereabouts with
the probation office.

Based on the foregoing, there is probable cause to believe that Jose Ruiz-Montes violated the
conditions of his Supervised Release.

 

 

Respectfully submitted, Reviewed by:
Ms Ty
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Elizabeth Hernandez-Robles Sonia Lapizco ~~“
U.S. Probation Officer Supervisory U.S. Probation Officer

Date Signed: May 8, 2020

 

Having considered the information set forth above, the court finds there is probable cause to
believe there has been a violation of the conditions of supervision and orders:

[¥| The issuance of a summons for the person under supervision to appear in court before the
duty Magistrate Judge for identification of counsel and setting of further proceedings on
August 3, 2020, at 1:30pm.

| Other:

5/15/2020

 

 

Date Edward J. Davila
United States District Judge

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Grade of Violations: C

APPENDIX

Criminal History at time of sentencing: I

Custody:

Supervised Release:

Probation:

Statutory Provisions

Two years
18 U.S.C. § 3583(e)(3)

Three years, less any time in
custody upon revocation
18 U.S.C. § 3583(h)

Not Authorized

Guideline Provisions

3-9 months
USSG § 7B1.4(a)

Three years, less any time in
custody upon revocation
USSG § 7B1.3(g)(2)

Not Applicable

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